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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CITY OF EAST ST. LOUIS, an Illinois   )
 Municipal Home Rule Corporation,      )
                                       )
       Plaintiff,                      )   Case No. 3:21-cv-00232-DWD
                                       )
 v.                                    )
                                       )   JURY TRIAL DEMANDED
 MONSANTO COMPANY, SOLUTIA, INC.,      )
 PHARMACIA, LLC, and DOES 1-100,       )
                                       )
       Defendants.                     )


       SECOND AMENDED COMPLAINT FOR DAMAGES AND ABATEMENT
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                                                                                    ,

                                                                        Second Amended Complaint

 against the Defendants, Monsanto




 I.      NATURE OF THE LAWSUIT

         1.      The City brings this action in its public governmental capacity seeking all legally

 cognizable fines and damages available to it for the contamination of vast swaths of its lands with

                                                                         Monsanto Plant in adjacent

 Sauget, Illinois.1

         2.      Monsanto manufactured PCBs and other chemical products at the Monsanto Plant

 from approximately 1936 through 1977. During this time period, Monsanto was the sole producer

 of PCBs in the United States.

 products. As a byproduct of                   PCB manufacturing operations and waste handling

 practices, PCBs were emitted into the atmosphere and into and onto East St. Louis lands.

         3.      PCBs are toxic and dangerous synthetic organic chemical compounds. Due to their

 non-flammability, chemical stability, high boiling point and electrical insulating properties, PCBs

 were used in hundreds of industrial applications, including in electrical, heat transfer and hydraulic

 equipment and as plasticizers in paints, plastics, and rubber products. Between 1936 and 1977,

 approximately 390,000 metric tons of PCBs were produced at the Monsanto Plant. In addition,



 1
   Upon information and belief, 1.1 acres of the Solutia/Monsanto facility is assessed in the
 corporate limits of the City of East St. Louis. The facility was known as the W.G. Krummrich
                                                                      omplaint.



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 thousands of metric tons of PCB-containing wastes were incinerated at the Monsanto Plant after

 1977. Finally, Monsanto deposited various hazardous wastes, including PCBs, in toxic dumps in

 nearby Sauget from the 1940s through the 1980s.

        4.      When Monsanto began manufacturing PCBs in approximately 1936, there were

 zero background levels of PCBs in the United States. By the late 1970s, PCBs were a worldwide

 environmental pollutant and part of almost every human being.

        5.      PCBs are found in bays, oceans, rivers, streams, soil, and air. They have been

 detected in the tissues of all living beings, including all forms of marine life, various animals and

 birds, plants and trees, and humans. PCBs regularly leach, leak, off-gas, and escape their intended

 applications, thereby dispersing into and onto adjacent lands and waterways.

        6.      The extent of toxic environmental PCB contamination is troubling because PCBs

 cause a variety of adverse health effects. In humans, PCB exposure is associated with cancer and

 other serious health effects, including effects on the immune system, reproductive system, nervous

 system, and endocrine system. In addition, PCBs destroy populations of fish, birds, and other

 animal life.

        7.       Between 1936 and 1977, Monsanto was responsible for the manufacture of 99%

 or more of all PCBs used or sold within the United States. Moreover, most, if not all, of the PCB

 contamination found in soil samples within East St. Louis is directly attributable to the Monsanto

 Plant. PCBs are completely anthropogenic, and there are no other known sources for the East St.

 Louis PCB contamination other than                             PCB manufacturing operations and

 waste handling practices.

        8.

 and, with limited exceptions, use of PCBs was prohibited in the United States in when the U.S.




                                                  2
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                                                                                           banning



 in 1976.

        9.     Hundreds of East St. Louis-owned lots and rights-of-way (in teal) are immediately

 adjacent to the Monsanto Plant PCB-contaminated site and industrial area (in peach) 2:




        10.    According to the EPA, the average concentration of PCBs in U.S. rural soils is
                                         3
                                             . In 2020, 203 soil samples were taken from City-owned

 lots and rights-of-ways located to the north and northeast of the Monsanto Plant. All samples had


 2
        St.      Clair     County     GIS     viewer,     retrieved    June     17,     2020
 https://stclairco.maps.arcgis.com/apps/webappviewer/index.html?id=6943a374c91a427b955e242
 aceb62fc6&find=01250112007
 3
   US EPA, 2007. Pilot Survey of Levels of Polychlorinated Dibenzo-p-dioxins, Polychlorinated
 Dibenzofurans, Polychlorinated Biphenyls, and Mercury in Rural Soils of the United States,
 National Center for Environmental Assessment, Office of Research and Development, U.S.
 Environmental Protection Agency, Washington, DC 20460. EPA/600/R-05/048F, April 2007.


                                                   3
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 PCB concentrations that exceeded the U.S. background average as referenced in a 2007 EPA

 study.4 The maximum concentration in a reported sample was 75,300 ppb, or approximately

 25,100 times the average concentration in U.S. rural soils. The average concentration of the 200

 samples was 3,416 ppb, or 1,138 times the average U.S. soil concentration, with the greatest

 concentrations reported in the samples closest in proximity to the Monsanto Plant. Prior to 1936,

 there was no background PCB level in the United States.

        11.     In mid-to-late 2022, additional soil samples were taken from 281 City-owned lots

 and rights-of-ways located to the north and northeast of the Monsanto Plant and analyzed using

 EPA Method 1668C5, a technique that quantifies individual PCB congeners in environmental

 samples using isotope dilution and high-resolution gas chromatography/high-resolution mass

 spectrometry. This testing and analysis confirmed that East St. Louis properties are grossly

 contaminated with Monsanto PCBs        the average concentration was 1,431 ppb and the highest

 detected concentration was 22,686 ppb with higher concentrations detected generally downwind

 and closest to the Monsanto Plant.      In addition, this testing confirmed that the types and

 concentrations of PCBs present in East St. Louis properties pose a substantial risk to human health

 and safety.

                                    MONSANTO AND PCBS

        12.     At the time Monsanto manufactured PCBs and PCB-containing products, and

 during the time periods it attempted to dispose of the byproducts of the manufacturing process at




 4
  Id.
 5
   US EPA, 2010. Method 1668C, Chlorinated Biphenyl Congeners in Water, Soil, Sediment,
 Biosolids, and Tissue by HRGC/HRMS, U.S. Environmental Protection Agency, Office of Water,
 Office of Science and Technology, Engineering and Analysis Division (4303T), U.S.
 Environmental Protection Agency, Washington, DC 20460. EPA-820-R-10-005, April 2010. See
 https://www.epa.gov/sites/default/files/2015-09/documents/method_1668c_2010.pdf.


                                                 4
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 its Monsanto Plant, Monsanto knew PCBs were highly toxic, harmful to human and animal health,

 and environmentally ruinous to nearby municipalities.

        13.     Even in the 1930s, it was understood within the chemical manufacturing industry

 that manufacturers should not haphazardly release chemicals into the stream of commerce without

 knowing how they might affect human health or the environment. A statement of legal principles



 manufacturer . . . must know the qualities of his product and he cannot escape liability on the




        14.     By this time, Monsanto knew or should have known that PCBs substantially persist

 in the natural environment rather than break down over time. The environmental persistence of

 PCBs and their resistance to breaking down is highly correlated with their chlorine content: the

 higher the chlorine content in a given PCB formulation, the more environmentally persistent it is.

        15.     Based on its knowledge of the environmental risks associated with related

 chlorinated hydrocarbons like DDT (which Monsanto also manufactured), Monsanto also knew or

 should have known, that its PCB formulations would inevitably volatilize and leach, leak, and

 escape their intended applications, contaminating sediment, soils, and plants, thereby destroying

 the utility of vast swaths of lands in East St. Louis.

        16.     Nevertheless, Monsanto sold many high-chlorination PCB formulations for

 uncontrolled uses knowing that their manufacture at the Monsanto Plant would cause PCB waste

 to be dispersed into and onto the lands of East St. Louis.

        17.     During the entire time Monsanto manufactured PCBs at its Krummrich Plant it also

 knew or should have known that PCBs were highly toxic and likely to cause cancer and other




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 diseases.

        18.     By the early 1930s, published studies found that hydrocarbons, like PCBs, which

 have a benzene-based structure are highly toxic and carcinogenic.

        19.     In addition, Monsanto knew by the mid-1930s that workers exposed to PCBs had

 developed liver disease and unusual acne-like skin lesions called chloracne. Several workers also

 developed jaundice and died of liver disease. In 1936, a U.S. Public Health Service official, Louis

 Schwartz, M.D., published a study describing a case in which family members of a man exposed

 to PCBs at work also developed the skin condition.

        20.     Beginning in approximately 1938, multiple published studies found that PCBs are

 toxic, case severe liver damage, and have tell-tale characteristics of compounds that cause cancer.

        21.     For example, studies by Bennett, Drinker, et al. and Miller in 1938 and 1944 found

 that animals exposed to PCBs developed organ and blood cell pathologies that are characteristic

 of the early stages of cancer. The exposed animals often died due to liver disease.

        22.     In addition, studies reported that PCB exposure caused chloracne, jaundice, and

 liver damage and failure in humans.

        23.     Monsanto was aware of these studies and even obtained a report from one of the

 principal investigators,            Cecil K. Drinker, M.D., about the toxicity of various chemical

 compounds, including PCBs, in 1938. The report Dr. Drinker prepared for Monsanto stated that

 one PCB

 is used in industry, great care be taken to keep concentrations i

        24.     In 1944, the U.S. Public Health Service published a study that found that Aroclors

 caused severe damage to the organs of different animal species.

        25.     By that time, Monsanto was also producing DDT, a remarkably similar compound




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 which shares many of the same properties as PCBs (the chemicals are so similar that they often

 could not be distinguished in laboratory analysis available at the time), including lipid solubility.

         26.    Monsanto also knew or should have known that compounds, like DDT and PCBs,

 with high lipid solubility bioaccumulate in fatty tissues and can grow to highly toxic levels over

 time.

         27.    By the late 1940s, DDT had been detected in humans and FDA scientists and other

 researchers published studies finding that DDT was extremely toxic and carcinogenic. In addition,

 in a 1949 publication which discussed why bioaccumulating compounds are especially dangerous,




                                                                         have known that PCBs, like

 DDT, are lipid soluble, bioaccumulate in animal and human tissue, and are highly toxic.

 Nevertheless, Monsanto kept manufacturing and selling its Aroclors and would not perform

 toxicity studies for another 20 years.

         28.    In a well-publicized 1968 incident in Yusho Japan, thousands of people consumed

 rice oil that had been inadvertently contaminated with PCBs. Hundreds of people died, and

 thousands of others suffered numerous toxic effects including skin and eye lesions, irregular

 menstrual cycles, lowered immune response, fatigue, headaches, unusual skin sores, and decreased

 cognitive development in children. Nevertheless, Monsanto continued to tell its customers and

 the public that PCBs are not toxic and would not perform toxicity studies for more than another

 decade.

         29.    In the ensuing decades, multiple additional studies determined that PCBs are toxic

 and carcinogenic. Nevertheless, Monsanto did not initiate any toxicity testing until 1969, after




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 PCBs were already discovered to be worldwide contaminants. By the mid-1970s multiple studies

 confirmed that Aroclors are carcinogenic.

        30.     Although Monsanto denied to regulators, its customers, and the public that PCBs

 were dangerous, it privately acknowledged the opposite.

        31.     Internally, Monsanto acknowledged as early as 1937 that PCBs (often sold under



        32.                  October 1944 Aroclor                         directed

 all departments where this material is handled should be apprised of the toxic nature of the material



        33.     In addition, a September




 due to the risk exposure might cause to painters.

        34.     By 1955, Monsanto knew that Aroclors were toxic        particularly for the liver   and



 Medical Director, Dr. R.                                       roclors are toxic but the actual limit

 has not been precisely defined. It does not make too much difference, it seems to me, because our

 main worry is what will happen if an individual develops any type of liver disease and gives a

 history of Aroclor exposure. I am sure the juries would not pay a great deal of attention to



        35.

 eating of lunches should not be allowed in [the department in which Aroclors




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 workman claimed physical harm from any contaminated food, it would be extremely difficult on



        36.     By the late 1950s, the U.S. government was concerned enough about PCB toxicity

                                               -containing products. A January 1957 memo from



 the PCB-containing product Pydraul 150. The Navy informed Monsanto that its own toxicity




 the




        37.     A

 should continue to sell PCB-containing products, but that the Navy might publish its research on

 its Pydraul 150 Aroclor. In a September 1957 memo, Monsanto employee S. Robert Sido wrote




        38.     Meanwhile, in communications with other customers, Monsanto said nothing about

 the Navy studies while continuing to insist its PCB-containing products were perfectly safe. In an

 April 1957 memo to the Standard Oil Company, Monsanto employee Elmer P. Wheeler wrote that

                                                                                              ly to




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         39.    In the late 1950s, Monsanto learned that millions of chickens had been dying from

 a disease called Chick Edema Syndrome           S , which caused fluid buildup around the heart

 that resulted in death from cardiac arrest. During this period, the U.S. FDA advised Monsanto that

 it had determined that                                Aroclor 1242 was positively correlated with

 development of CES. In addition, in 1961 researchers from the University of Missouri advised

 Monsanto that they had tested paint in chicken coops in which birds had become ill and found that

 it contained             Aroclor 1242. They described the incident in a subsequent journal article

 i

 chlorinated biphenyl     Monsanto ignored these and other warnings and took no action in response.

         40.    In 1969, researchers working for the Bureau of Commercial Fisheries of the U.S.

 Department of Interior advised Monsanto that PCBs released from its facility in Florida had caused

 mass killings of marine wildlife in Pensacola Bay. Newspaper accounts relayed to Monsanto

 officials                         virtually no shrimp being caught and the largest catch to date was

                  gain, Monsanto took no action and continued to profess that its Aroclors were

 non-toxic.

         41.    In fact, as more data became available on PCB toxicity, Monsanto resisted the

 notion that it was responsible for ensuring that its products did not cause harm. In a May 1964



 that the Aroclors are more toxic when in an oil solution than when administered undiluted to




 since we cannot be expected to get animal data on every possible formulation containing a




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           42.

 potential harms of its products, and at least one worried that those harms were being understated.

 In a September 1965 memo, Monsanto employee Elmer P. Wheeler wrote about his discussions




 Monsanto literature furnished him had been more reassuring in terms of what problems might arise



 on the floor were common and that his own employees had compla



                                -

                                     e suggest that Monsanto had previously advised the customer

 that such uses of Aroclors would be unsafe, or that other customers now should be given similar

 advice.

           43.   In fact, despite its early knowledge of the dangers associated with PCBs, Monsanto

 embarked on a decades-long campaign of disinformation and deception in order to prolong the

 manufacture, incineration, and disposal of PCBs in East St. Louis and thereby preserve the

 considerable profits PCBs generated for the company.

           44.   In public statements and in statements to its customers, Monsanto vigorously

 denied that PCBs were harmful to human and environmental health despite knowledge to the

 contrary. As late as the early 1980s, Monsanto officials continued to tell customers and the public

 that PCBs do not

           45.   Monsanto also knew for decades that PCBs distributed into the environment would

 remain there for decades, if not longer. An April 1969 memo from Monsanto employee Elmer P.




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 Wheeler reflects that in 1939, Monsanto had applied several Aroclor compounds to soil test plots

 to determine whether they could be used for termite control. In June 1963, the memo states, it was

                                                . . still [showed] visual evidence of the presence of



        46.     Monsanto also knew that the qualities of PCBs made them a potential

 environmental contaminant. In an August 1960 letter to Chicago Pneumatic Tool Company,

 Monsanto employee Jack T. Garrett explained that PCB-conta




                                                                -

 effect [sic] the organisms in the bottom of the receiving stream [and] effect the aquatic life in the




        47.     In 1966, scientists in Sweden published a landmark study that first made PCBs a

 subject of widespread public concern. Monsanto soon realized that the study would bring increased

 scrutiny to its practices regarding PCBs, including their disposal. In December 1966, a Monsanto




                                                                                                  -up

                                                                                             ints that

                                                                        (another term for PCBs) and




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        48.     Monsanto realized that the Swedish study would prompt questions about other

 subjects that it did not have good answers for. In a February 1967 memo, Mon



 will be able to . . . . We feel our customers . . . may ask us for some sort of data concerning the

 safety of these residues in humans. This obviously might be opening the door to an extensive and

 quite expensive toxicological/pharmaceutical investigation. Before starting this, we certainly want



        49.     Monsanto sold PCBs for a variety of uses, including household uses, without any

 warnings or instructions concerning their safe use or disposal. PCBs were sold for use in paints,

 caulks, inks, dyes, lubricants, sealants, plasticizers, coolants, hydraulic fluids, fireproofing, and

 industrial electrical equipment such as capacitors and transformers, among other applications.

        50.                                            large amounts of PCBs were escaping from its

 W.G. Krummrich Plant and entering the nearby environment, as documented in multiple internal

 documents. Nevertheless, the company continued to manufacture and sell its PCBs without

 warning Plaintiff or the public of this fact or the dangers of PCB contamination.

        51.



 its Krummrich Plant totaled in the hundreds of pounds per day. Despite this knowledge, the

 company took no immediate action to address this problem.

        52.     In fact, in the minutes of the September 5, 1969 meeting of its Aroclor Ad Hoc




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                                                                                               by our

 customers have been alleviated, there is little object to going to expensive extremes in limiting



 sampling and testing program would be very expensive and is probably not justified at this stage



        53.       Monsanto also knew or should have known that PCBs disposed of in landfills,

 incinerators, and other types of waste facilities in or near East St. Louis regularly leached, leaked,

 and escaped their disposal sites, entering and contaminating vast swaths of land in East St. Louis.

        54.       Incredibly, it was not until 1969, after scientists had found PCBs to be a worldwide

 environmental contaminant, when Monsanto first initiated a long-term evaluation of PCBs. These

 studies confirmed that PCBs were highly toxic and carcinogenic; however, Monsanto went to great

 lengths to conceal this information from regulators, its customers, and the general public in order

 to protect its highly lucrative Aroclor business.

        55.       In fact, when the toxicity testing was finally performed, the data and results were

 deliberately falsified and Monsanto instructed the laboratory to modify its initial findings in order

 to conceal the true carcinogenicity of PCBs. Monsanto then nevertheless submitted the falsified

 study results to government agencies and heralded their supposedly positive results in

 communications with its customers.

        56.       Monsanto had a very close relationship with Industrial Bio-Test Laboratories

               e firm it retained to conduct Aroclor toxicity testing and had hired IBT to prepare

 toxicity reports on many other products, many of which Monsanto had submitted to government

 regulators.




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            57.   In fact, IBT employed former Monsanto toxicologist, Dr. Paul Wright, from

 approximately March of 1971 through approximately November of 1972, during the time IBT was

                                                                                  , and various other

                                                           this period. In Approximately November

 of 1972, after the testing was completed, Dr. Paul Wright returned to Monsanto as its Manager of

 Toxicology.

            58.   Monsanto management insisted that Monsanto be allowed to review the results of

 the IBT Aroclor tests before they were published and, i



                                                                                                   ed

 to date.

            59.   In addition, after reviewing draft study reports in 1975 that indicated IBT had

 detected tumors in lab animals exposed to Aroclors, Monsanto asked IBT to change its Aroclor



 IBT dutifully complied.

            60.   Monsanto ultimately tapped Dr. Wright to interact with government regulators

 considering regulation of Aroclors. Monsanto was so pleased with his work that, in 1977,

 Monsanto awarded him

 to limit discharges of polychlorinated

            61.   It was later revealed that IBT and Dr. Wright had deliberately falsified data in the

 Monsanto Aroclor studies. In fact, the IBT employee who signed off on the Monsanto PCB test

 reports later testified that IBT had made up data reported in the Aroclor studies and that he was

 ashamed of the work he had done on the studies.




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        62.     In addition, the employee testified that the vast majority of rodents involved in the

 Monsanto Aroclor studies died during the studies and were so badly decomposed that researchers

 could not determine a cause of death or conduct pathology examinations.

        63.     After an extensive audit, the U.S. FDA ultimately invalidated 618 of 867 (71%) of

                                                                                         . The U.S.

 EPA ordered that multiple chemicals would be pulled from the market unless manufacturers

 provided additional, valid, safety data within 90 days.

        64.     In May of 1981, Dr. Wright and two other IBT officials were indicted by a federal

 grand jury in the Northern District of Illinois. Two years later, he and the other officials were

 convicted of mail fraud, wire fraud, and making false statements associated with the falsification

 of scientific data at IBT. His conviction was later affirmed on appeal by the United State Court of

 Appeals for the Seventh Circuit.

        65.     In a later civil suit, Dr. Wright invoked his rights under the Fifth Amendment when

                                                                    at Monsanto that Monsanto was

 continuing to use the Industrial Bio-

 in an effort by Monsanto to forestall various government regulations designed to limit the

 discharge of PCBs into the environ

        66.

 Wright, when you had an interchange with the EPA about causing them to forestall their

 regulations limiting the discharge of PCBs into the environment, you knew at that time that the

 Industrial Bio-Test Aroclor studies both understated and misrepresented the toxic effects of PCBs




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         67.                                                                      Upon information and

 belief, this toxic PCB contamination will cost East St. Louis millions and millions of dollars

 because it is forced to attempt to clean up PCBs from its lands if they are to ever have any

 residential or commercial utility and value. These costs must be borne by Monsanto.

         68.      In short, and upon information and belief, East St. Louis will incur massive

 remediation and abatement costs caused by                           PCB contamination of vast swaths

 of its land.

 II.     JURISDICTION AND STATUTE OF LIMITATIONS

         69.      This Court has jurisdiction over this action in accordance with 28 USC § 1332(a)

 (diversity of citizenship) because the Plaintiff is an Illinois Home Rule Municipal Corporation and,

 as detailed below, the named Defendants are citizens of states other than Illinois. The amount in

 controversy exceeds $75,000, exclusive of interest and costs.

         70.      Further, this Court has personal jurisdiction over Defendants because, as further

 detailed below, Defendants conduct business in Illinois, purposefully direct or directed their

 actions toward Illinois, manufactured and sold their products in Illinois, own or possess real estate

 in Illinois, consented to be sued in Illinois by registering agents for service of process, committed

 the torts and ordinance violations alleged herein in Illinois, and thereby damaged the Plaintiff, an

 Illinois political subdivision, and because they have the requisite minimum contacts with Illinois

 to permit the Court to exercise jurisdiction.

         71.      Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) and 42

 U.S.C. §6972(a), because all of the events or omissions giving rise to the claims herein occurred

 in this judicial district and the properties that are the subject of this action are also situated in this

 judicial district.




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         72.       The City became aware of PCB contamination of its lands when it received testing

 samples indicating highly elevated PCB levels in December of 2020.

         73.       No statute of limitations or repose can be pleaded against East St. Louis as the

 allegations and ordinance violations herein are continuous, wrongful, and ongoing, and East St.

 Louis is a Home Rule Municipal Corporation.

         74.       Additionally, under the common law, neither the statute of limitations nor statute

 of repose may be asserted against Illinois municipalities

 rights. City of Shelbyville v. Shelbyville Restorium, Inc., 96 Ill. 2d 457, 459, 451 N.E.2d 874

 (1                                                                     nullum tempus occurit regi

 (hereinafter nullum tempus                                                                   Shelbyville,

 96 Ill. 2d at 460.

         75.       In prosecuting this litigation, the City is acting in its public capacity and exercising

 public rights. The locations at which PCBs have been detected at levels that pose a risk to public

 health and safety are spread out throughout the City and include properties that are part of, or in

 the vicinity of public parks, schools, roadways, sidewalks, bus stops, offices, and other public areas

 and facilities.                                                                             safely access

                                    and facilities. In addition, because PCBs are volatile, the zone of

 risk created by the contamination is not limited to the physical area of the contaminated properties

 themselves. PCBs can become airborne and move throughout the City, posing a risk to the health

 and safety of people anywhere within East St. Louis who might come into contact with the

 chemicals.

         76.                                        City officials to

                                      Municipal Code § 2-



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 abated or removed which [they] may deem prejudicial or obnoxious to the public health or

               id. § 62-2.

          77.       The City lacks the financial resources to pay for PCB remediation through its



 law since 1990, the year that the Financially Distressed City Law 6 was enacted. Its budgets in

 recent years have generally totaled approximately $30-$40 million, with $14-20 million designated

                                                                                     would total in the

 millions of dollars.

          78.                                           ms the City and its residents in many other

 ways. For example, the City cannot sell or rent PCB-contaminated properties at their true market

 value (i.e., market value without PCB contamination) and must bear the costs of maintaining those

 properties it cannot sell or rent. In addition, the City cannot realize the full taxable revenue (i.e.,

 taxable revenue without PCB contamination) of privately-owned PCB-contaminated properties.

                                              -contaminated properties available for public use and

 recreation diminishes the quality of life for its residents and visitors and otherwise affects the

 interests of the community at large.

 III.     PARTIES

          A.        PLAINTIFF

          79.       The City of East St. Louis is a Home Rule Municipal Corporation located in St.

 Clair County, Illinois. Under the Illinois Municipal Code, 65 ILCS 5/11-60-2 (West 2008), only

 the corporate authorities of East St. Louis can define, prevent and abate public nuisances such as

 the public nuisance ordinance violations described herein. East St. Louis brings this action solely


 6
     See 65 ILCS 5/8-12-1, et seq.


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 in its public governmental capacity as an Illinois Home Rule Municipal Corporation under the

 Illinois Constitution, charge
                                                7



           80.     East St. Louis has a public governmental interest in its natural resources and lands.

 Its constitutional obligation to ensure the health and well-being of the public, its environment, and

 its economy are essential public functions and rights to be vindicated in this litigation. Moreover,

 upon information and belief, East St. Louis will incur massive costs to pay for this litigation and

 for the

           B.      DEFENDANTS


           81.     Defendant, Monsanto Company                     , is a Delaware corporation with its

 principal place of business in St. Louis, Missouri. Following a merger transaction that closed in

 2018, Monsanto is a wholly-owned subsidiary of Bayer AG.

           82.     Defendant, Solutia, Inc.              , is a Delaware corporation with its principal

 place of business in St. Louis, Missouri. Solutia is a wholly-owned subsidiary of Eastman

 Chemical Company.

           83.     Defendant, Pharmacia LLC                        , formerly known as Pharmacia



                 Pharmacia LLC is a Delaware company with its principal place of business in

 Peapack, New Jersey. Pharmacia is now a wholly-owned subsidiary of Pfizer, Inc.

           84.     Original Monsanto operated an agricultural products business, a pharmaceutical



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     Ill. Const. 1970, Art. VII, §6(a).




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 and nutrition business, and a chemical products business. Original Monsanto began manufacturing

 PCBs in 1935 after acquiring Swann Chemical Company. Original Monsanto manufactured PCBs

 within or immediately adjacent to East St. Louis from approximately 1936 to until 1977.

        85.      Through a series of transactions beginning in approximately 1997, Original

                                                                               The corporation now




 pharmaceuticals business is now operated by Pharmacia.

        86.      Solutia was organized by Original Monsanto to own and operate its chemical

 manufacturing business. Solutia assumed the operations, assets, and liabilities of Original



        87.      Although Solutia assumed and agreed to indemnify Pharmacia (then known as

 Monsanto Company) for certain liabilities related to the chemicals business, Defendants have also

 entered into agreements to share or apportion liabilities, and/or to indemnify one or more entities,

                                                       cal business, including the manufacture and

 sale of PCBs.

        88.      In 2003, Solutia filed a voluntary petition for reorganization under Chapter 11 of

 the U.S. Bankruptcy Code.                                                       In connection with

                          rganization, Solutia, Pharmacia, and Monsanto entered into several

 agreements under which Monsanto continues to manage and assume financial responsibility for

 certain tort litigation and environmental remediation related to the chemicals business.

        89.      Eastman Chemical Co. reported in its 2019 Form 10-

 a defendant in several [legacy tort] proceedings, and has submitted the matters to Monsanto, which




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 was acquired by Bayer AG in June 2018, as Legacy Tort Claims [as defined in a settlement



 these matters are not within the meaning of Legacy Tort Claims, Solutia is potentially liable

 thereunder. In connection with the completion of its acquisition of Solutia, Eastman guaranteed

 the obligations of Solutia and Eastman was added as an indemnified party under the Monsanto



         90.     In its Form 10-K for the period ending August 31, 2017, filed with the U.S.

 Securities and Exchange Commission (the last such filing before Bayer AG acquired Monsanto),



 to which Monsanto is a party in its own name and proceedings to which its former parent,

 Pharmacia LLC or its former subsidiary, Solutia, Inc. is a party but that Monsanto manages and

 for which Monsanto is responsible pursuant to certain indemnification agreements.

 IV.     CAUSES OF ACTION

                                 COUNT I     PUBLIC NUISANCE
                                        (ALL DEFENDANTS)

         91.     Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.

         92.     The Defendants manufactured, distributed, marketed, promoted, and attempted the

 disposal of commercial PCBs and PCB-containing products in a manner that created or contributed

 to the creation of public nuisances that unreasonably obstruct the free use and enjoyment of East

            lands.

         93.

 PCBs and PCB-containing products and wastes into and onto the lands of East St. Louis, constitute

 past and continuing public nuisances.


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          94.    An ordinary person would be reasonably annoyed or disturbed by the presence of

 toxic PCBs in and on East St. Louis lands.

          95.    The seriousness of the environmental harm, human health risks, and economic

 devastation from PCBs far outweighs any social utility of the

 manufacturing their commercial PCBs and PCB-containing products at the Monsanto Plant.

          96.    The

 seriously damages the property values and utility of the residential and commercial properties in

 East St. Louis, thereby causing East St. Louis to, upon information and belief, lose millions of

 dollars in tax revenue over the last four decades.

          97.    Upon information and belief, East St. Louis will incur massive costs to investigate,

 monitor, analyze, abate, and remediate                     PCB toxic contamination of East St. Louis

 lands.

          98.    As a result of the

 will continue to suffer injuries to the public interest and to the health, safety, and well-being of its

 residents, land, environment, and economy.

          99.    The Defendants are under a continuing duty to act to correct, abate, and remediate

 the public nuisances their toxic PCB contamination has caused, and each day on which they fail to

 do so constitutes a new injury to East St. Louis.

          100.   As a direct and proximate result of                creation of public nuisances, East

 St. Louis has suffered, continues to suffer, and will into the indeterminable future suffer monetary

 damages, including loss of property values, loss of utility of East St. Louis lands and natural

 resources, and loss of municipal income and tax revenue, and will incur significant costs to

 monitor, abate, and remediate                toxic PCB contamination of East St. Louis lands.




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        101.    Defendan

 described herein constitute fraud, actual malice, and deliberate violence or oppression and

 Defendants acted willfully or with such gross negligence as to indicate a wanton disregard of the

 rights of others, warranting the imposition of punitive damages.

        WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

        A.                                                land and natural resources, including the

 economic impact to the City from the loss of ecological health or other losses resulting from the

                                                                                                  and

 the loss of revenue to the City resulting from             actions and omissions;

        B.      An award of past, present, and future costs to abate and remediate the Monsanto

 PCB toxic contamination;

        C.      Punitive damages in an amount which will punish Defendants and discourage them

 and others from similar conduct in the future;

        D.      A judicial determination that each Defendant is liable for all future costs related to

 the investigation, abatement, remediation and removal of the Monsanto PCB toxic contamination;

        E.      An order requiring Defendants to return all monies by which they were unjustly

 enriched as a result of spending nothing to prevent the toxic PCB contamination

 lands and natural resources;

        F.      Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

        G.      Such other and further relief as the Court deems just and proper.




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                COUNT II - VIOLATION OF THE CITY OF EAST ST. LOUIS
                        MUNICIPAL CODE § 50-71 (NUISANCE)
                                        (ALL DEFENDANTS)

         102.    Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.

         103.    At all times since Defendants began their PCB manufacturing activities at the

 Monsanto Plant in approximately 1936, the East St. Louis Municipal Code has prohibited creating,

 committing, permitting, or continuing a nuisance on any private property or public place within

 the City.

         104.    The East St. Louis Municipal Code states:

         No person shall create, commit, permit or continue a nuisance of any kind or
         description in, upon or about any private property or public place within the city
         which may affect the health, comfort or convenience of persons residing or doing
         business in the vicinity.

 East St. Louis, Ill., Municipal Code § 50-71(a).

 politic and corporate, as well as individuals. Id. § 1-

 as:

         anything offensive or obnoxious to the health and welfare of the inhabitants of the
         city; or any act or thing or creating a hazard to, or having a detrimental effect on,
         the property of another person.

 Id.

         105.    From July 1, 1973 through June 11, 2003, the East St. Louis Municipal Code

 provided:

         No person shall create, commit, permit or continue a nuisance of any kind or
         description in, upon or about any private property or public place within the city,
         which may affect the health, comfort or convenience of persons residing or doing
         business in the vicinity thereof.




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 East St. Louis, Ill., Municipal Code § 43-2 (1973). The

 individual, partnership, corporation, joint stock association or any city or state or any subdivision

 thereof. Id. § 1-3.

        106.    From January 1, 1944 through June 31, 1973, the East St. Louis Municipal Code

 provided:

        Whoever shall create, commit, permit, or continue a nuisance of any kind or
        description in, upon or about any private property, or in any public place, within
        the City, which may affect the health, comfort or convenience of persons residing
        or doing business in the vicinity thereof, shall, upon conviction, be fined . . . .

 East St. Louis, Ill., Municipal Code § 60-16 (1944).

        107.    From 1908 through December 31, 1943, the East St. Louis Municipal Code

 provided:

        Whoever shall create, commit, permit or continue a nuisance of any kind or
        description in, upon or about any private property, or in any public place, within
        the city, which may affect the health, comfort or convenience of persons residing
        or doing business in the vicinity thereof, shall, upon conviction, be fined . . . .

 East St. Louis, Ill., Municipal Code § 738 (1908).

        108.    T

 release and migration of PCBs and PCB-containing products into and onto the lands of East St.

 Louis and allowing the PCB contamination to remain in and on the lands of East St. Louis

 constituted creating, committing, permitting, or continuing a nuisance, in violation of the East St.

 Louis Municipal Code.

        109.    The East St. Louis Municipal Code further provides, in pertinent part, that each

 violation of East St. Louis, Ill., Municipal Code § 50-



 ordinance shall constitute a separate off                           Municipal Code § 1-15(a).




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         110.    By their acts and omissions described herein, Defendants have continuously

 violated the East St. Louis Municipal Code on each parcel of property in the City on which they

 have created, committed, permitted, or continued a nuisance since they began their PCB

 manufacturing activities at the Monsanto Plant in approximately 1936. Defendants are therefore

 subject to a daily fine, to be determined by the trier of fact but not to exceed $750.00, for each

 parcel of property on which they have created, committed, permitted, or continued a nuisance

 during this time.

         111.

 East St. Louis lands, and the leaving of that toxic PCB contamination on East St. Louis lands, have

 violated, are currently violating, and will continue into the indeterminable future to violate the East

 St. Louis Municipal Code as described herein and Defendants are subject to daily fines for each

 past, present, and future ordinance violation.

        WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

         A.      Fines consistent with the City of East St. Louis Municipal Code for each and every

 separate offense;

         B.      Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

         C.      Such other and further relief as the Court deems just and proper.

      COUNT III        ABATEMENT PURSUANT TO THE CITY OF EAST ST. LOUIS
                           MUNICIPAL CODE §§ 50-79 AND 62-2

                                        (ALL DEFENDANTS)

         112.    Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.



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         113.   The East St. Louis Municipal Code states:

         Whenever any nuisance shall be found on any premises within the city, the officials
         are authorized to cause such nuisance to be summarily abated in such a manner as
         may be directed.

 East St. Louis, Ill., Municipal Code § 50-79.

         114.   The Code further states:

         The health department shall cause all nuisances to be abated or removed which it
         may deem prejudicial or obnoxious to the public health or comfort . . . .

 Id. § 62-2.

         115.

         anything offensive or obnoxious to the health and welfare of the inhabitants of the
         city; or any act or thing or creating a hazard to, or having a detrimental effect on,
         the property of another person.

 Id. § 1-2.

         116.                                                                      t. Louis constitutes

 a nuisance, as defined by the East St. Louis Municipal Code, thus giving rise to a demand for

 abatement and remediation of all PCB contamination.

         117.   Notice is here given to Defendants that East St. Louis demands full abatement and

 remediation of all PCB contamination caused by the Defendants business activities in and around

 the W. G. Krummrich Plant and at Defendants unilateral expense. East St. Louis reserves the

 right to supplement the lists of properties, soils, waterways, and natural resources which may be

 found to be also PCB-contaminated and for which remediation is required.

         118.

 East St. Louis lands, and the leaving of that toxic PCB contamination on East St. Louis lands, has

 violated, is currently violating, and will continue into the indeterminable future to violate the East

 St. Louis Municipal Code as described herein. Defendants are subject to daily fines for each past,



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 present, and future ordinance violation and are under a continuing obligation to fully abate and

 remediate all contamination caused by their PCBs.

         WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

         A.       Fines consistent with the City of East St. Louis Municipal Code for each and every

 separate offense;

         B.       Injunctive relief in the form of Court Orders mandating the immediate and complete

 abatement and remediation of all East St. Louis lands caused b

 contamination;

         C.       Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

         D.       Such other and further relief as the Court deems just and proper.

                             COUNT IV       CONTINUING TRESPASS

                                        (ALL DEFENDANTS)

         119.     Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.

         120.     The Defendants knew with substantial certainty at the time of their manufacture

 and sale of PCBs and PCB-containing products, and then with their incineration and disposal of

 PCB-containing products and wastes, that such activities were likely if not certainly to result in

 contamination of the lands of East St. Louis.

         121.

 St. Louis property, that is, a continuing invasion in and of the exclusive possession and control of

 its lands.




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          122.   The                                                   to cause permanent harm to and

 seriously damages the property values and utility of the residential and commercial properties in

 East St. Louis, thereby causing East St. Louis to, upon information and belief, lose millions of

 dollars in tax revenue over the last four decades.

          123.   Upon information and belief, East St. Louis will incur massive costs to investigate,

 monitor, analyze, abate, and remediate                        PCB contamination.

          124.   As a result of the                                                          uffering, and

 will continue to suffer injuries to the public interest and to the health and well-being of its residents,

 lands, and economy.

          WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

          A.                                               lands, including the economic impact to the

 City; the loss of ecological health or other losses resulting from the conduct alleged herein; the

                                        and

 actions and omissions;

          B.     An award of past, present, and future costs to investigate, assess, analyze, monitor,

 abate and remediate the toxic PCB contamination;

          C.     A judicial determination that each Defendant is liable for all future costs related to

 the investigation, abatement, remediation and removal of the toxic PCB contamination;

          D.     An order requiring Defendants to return all monies by which Defendants were

 unjustly enriched as a result of spending n

 lands;




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         E.      Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

         F.      Such other and further relief as the Court deems just and proper.

                                   COUNT V DESIGN DEFECT

                                        (ALL DEFENDANTS)

         125.    Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.

         126.                                              -containing products as described herein

 constituted an unreasonably dangerous design of such products in that they contained PCBs, a

 known toxic substance and carcinogen, at the time they left their control.

         127.                                          -                                           -

 accumulate, inability to be contained, and environmental persistence rendered them defective and

 unreasonably dangerous at all times.

         128.                                          -containing products were unsafe as designed.

         129.    The risk of danger inherent in the design of the

 PCB-containing products drastically outweighed any perceived benefits of the design of such

 products when such products were put to reasonably foreseeable uses.

         130.    Alternatively, Defendants knew their PCB mixtures and PCB-containing products

 were unsafe to an extent beyond that which would be contemplated by an ordinary person.

         131.    Practical and feasible alternative designs                   PCB mixtures and PCB-

 containing products                                                 , damages, and financial losses

 were commercially available, including mineral oils, silicone fluids, vegetable oils, and nonfluid

 insulating chemicals, as well as alternative chemical formulations and/or additional chemical

 processing measures.


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        132.    The PCB mixtures and PCB-containing products reached the East St. Louis lands

 without any substantial change in condition from when they left the control of the Defendants.

        133.    The                                                                      -containing

 products caused the permanent presence of PCBs in East St. Louis and injury to the public interest,

 including threats to the physical and economic health and well-                            citizens.

        134.    Defendants owed a legal duty to the City because they manufactured and marketed

 PCBs and PCB-

 W.G. Krummrich plant adjacent to East St. Louis could be reasonably foreseen.

        135.    East St. Louis has suffered, is suffering, and will continue to suffer into the

 indeterminable future damage to its lands, and damages to its public treasury as a result of

                                                                      -containing products and the

 presence of PCBs within East St. Louis.

        136.

 described herein constitute fraud, actual malice, and deliberate violence or oppression and

 Defendants acted willfully or with such gross negligence as to indicate a wanton disregard of the

 rights of others, warranting the imposition of punitive damages.

        137.    The Defendants are strictly liable for all damages arising out of their defectively

 designed PCB formulas, mixtures, and PCB-containing products.

        WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

        A.                                                lands, including the economic impact to the

 City; the loss of ecological health or other losses resulting from the conduct alleged herein; the




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                                        and

 actions and omissions;

          B.     An award of past, present, and future costs to investigate, assess, analyze, monitor,

 abate, and remediate the toxic PCB contamination;

          C.     Punitive damages in an amount which will punish Defendants and discourage them

 and others from similar conduct in the future;

          D.     A judicial determination that each Defendant is liable for all future costs related to

 the investigation, abatement, remediation and removal of PCBs from, in, and around East St.

 Louis;

          E.     An order requiring Defendants to return all monies by which Defendants were



 lands;

          F.     Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

          G.     Such other and further relief as the Court deems just and proper.

                     COUNT VI        FAILURE TO WARN AND INSTRUCT

                                        (ALL DEFENDANTS)

          138.   Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.

          139.                      s and PCB-containing products were not reasonably safe at the

 time they left their control because they lacked adequate warnings and/or instructions concerning

 the dangers and hazards associated with PCBs.




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        140.    At the time the Defendants manufactured, distributed, marketed, promoted, and

 sold PCBs and PCB-containing products, they knew their products were not safe and were likely

 if not certain to cause toxic PCB contamination of lands in East St. Louis.

        141.    Despite the                              they failed to provide adequate warnings

 and/or instructions that their PCBs and PCB-containing products were toxic, carcinogenic, and

                                      lands.

        142.    Defendants could have warned of and instructed about these dangers but failed to

 do so and intentionally concealed information in order to maximize profits for decades.

        143.    In addition, the Defendants advised their commercial customers to dispose of PCBs

 and PCB-containing wastes in landfills, and they themselves did the same, when they knew that

 this method of disposal would lead to contamina                            lands.

        144.    Defendants continued to conceal the dangers of PCBs after they manufactured,

 distributed, marketed, promoted, and sold PCBs and PCB-containing products.

        145.                       s and PCB-containing products in East St. Louis caused and

 continue to cause injury and damage to the physical and economic health and well-being of East

 St. Louis, including but not limited to the loss of value to and the utility of

 the lost revenue to the City resulting from Defendant

                  abate and remediate its toxic PCB contamination.

        146.    Defendants owed a legal duty to the City because they manufactured and marketed

 PCBs and PCB-

 W.G. Krummrich plant adjacent to East St. Louis could be reasonably foreseen.




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        147.    East St. Louis has suffered, is suffering, and will continue to suffer into the

 indeterminable future injuries to its lands and damages to its public treasury as a result of



        148.

 described herein constitute fraud, actual malice, and deliberate violence or oppression and

 Defendants acted willfully or with such gross negligence as to indicate a wanton disregard of the

 rights of others, warranting the imposition of punitive damages.

        149.    Defendants are strictly liable for all damages to the City of East St. Louis arising

 out of their failure to provide adequate warnings and instructions regarding their unreasonably

 dangerous PCBs and PCB-containing products.

        WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

        A.                                                lands, including the economic impact to the

 City; the loss of ecological health or other losses resulting from the conduct alleged herein; the

                                      and

 actions and omissions;

        B.      An award of past, present, and future costs to investigate, assess, analyze, monitor,

 abate, and remediate the toxic PCB contamination;

        C.      Punitive damages in an amount which will punish Defendants and discourage them

 and others from similar conduct in the future;

        D.      A judicial determination that each Defendant is liable for all future costs related to

 the investigation, abatement, remediation and removal of PCBs from, in and around East St. Louis;




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          E.     An order requiring Defendants to return all monies by which Defendants were



 lands;

          F.     Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

          G.     Such other and further relief as the Court deems just and proper.

                                   COUNT VII       NEGLIGENCE

                                        (ALL DEFENDANTS)

          150.   Plaintiff restates, realleges, and incorporates by reference each of the foregoing

 paragraphs as if fully set forth herein.

          151.   The Defendants owed a duty of reasonable care to protect East St. Louis and its

 public and lands against the unreasonable health and safety risks resulting from the production,

 use, and disposal of PCBs and PCB-containing products at their Monsanto Plant.

          152.   The Defendants failed to exercise ordinary care because a reasonably careful

 company would have performed valid long-term toxicity testing before manufacturing and selling

 vast quantities of PCBs.

          153.   The Defendants failed to exercise ordinary care because a reasonably careful

 company that knew of its            toxicity, carcinogenicity, danger to humans, and destruction of

 the lands would not manufacture or distribute those products, would warn of their toxic and

 environmentally hazardous properties, or would take steps to enhance the safety and/or reduce the

 toxicity and environmental persistence of the products.

          154.   The Defendants failed to exercise ordinary care because reasonably careful

 companies that knew that PCBs could not be contained during normal production, use, and




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 disposal efforts would not continue to manufacture, distribute, and attempt to dispose of PCBs in

 a way that allowed the discharge of PCBs into and onto East St. Louis lands.

        155.    The Defendants failed to exercise ordinary care because reasonably careful

 companies would not continue to manufacture and dispose of PCBs in mass quantities and to the

 extent and in the applications that Defendants manufactured and attempted to dispose of them.

        156.                       s and PCB-containing products in East St. Louis caused and

 continue to cause injury and damage to the physical and economic health and well-being of East

 St. Louis, including but not limited to the loss of value to and the utility of the



                  abate and remediate its toxic PCB contamination.

        157.    East St. Louis has suffered, is suffering, and will continue to suffer into the

 indeterminable future injuries to its lands, and damages to its public treasury as a result of



        158.

 described herein constitute fraud, actual malice, and deliberate violence or oppression and

 Defendants acted willfully or with such gross negligence as to indicate a wanton disregard of the

 rights of others, warranting the imposition of punitive damages.

        WHEREFORE, Plaintiff, the City of East St. Louis, prays for Judgment in its favor and

 against Defendants, jointly and severally, as follows:

        A.                                                lands, including the economic impact to the

 City; the loss of ecological health or other losses resulting from the conduct alleged herein; the

                                       and

 actions and omissions;




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            B.     An award of past, present, and future costs to investigate, assess, analyze, monitor,

 abate, and remediate the toxic PCB contamination;

            C.     Punitive damages in an amount which will punish Defendants and discourage them

 and others from similar conduct in the future;

            D.     A judicial determination that each Defendant is liable for all future costs related to

 the investigation, abatement, and remediation and removal of PCBs from, in and around East St.

 Louis;

            E.     An order requiring Defendants to return all monies by which Defendants were



 lands;

            F.     Pre-judgment and post-judgment interest on all monies awarded, as permitted by

 law; and

            G.     Such other and further relief as the Court deems just and proper.


                                            JURY DEMAND

            Plaintiff, the City of East St. Louis, respectfully requests trial by jury on all claims so

 triable.



            Dated: April 24, 2023                         Respectfully Submitted,

                                                          THE DRISCOLL FIRM, LLC

                                                  By:     /s/ John J. Driscoll
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                                                   Fax: (410) 269-1235
                                                   rlm@smouseandmason.com
                                                   zeh@smouseandmason.com

                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on April 24, 2023,    the foregoing document was

 system upon all registered parties.

                                                   /s/ John J. Driscoll




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